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 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                              FOR THE DISTRICT OF ARIZONA
10
11   United States of America,                       Case No. 2:19-cr-00898-DLR (DMF)
12                       Plaintiff,                  MOTION #3 TO SEVER AND FOR
13                                                   RELIEF FROM PREJUDICIAL
           vs.                                       JOINDER
14
     David Allen Harbour,
                                                     ORAL ARGUMENT REQUESTED
15
                         Defendant.
16
17         Defendant, David Harbour, by and through undersigned counsel, respectively
18
     moves this Court to sever the counts contained in the indictment and order separate trials
19
     pursuant to Federal Rule of Criminal Procedure 8 and 14. This motion should be
20
21   considered after Motions #1 and #2. Motion #1 attempts to clear away the superfluous
22   language clogging a close examination of the charged conduct associated with the alleged
23
     payday lending fraud, that is the Group of 5, and the uncharged conduct that relates to the
24
     Group of 6. If Motion #1 is granted, then, with the exception of Counts 11 and 12, which
25
26   relate to A.W. and C.H., who are charged victims, the SOL arguments can be deferred
27   unless and until there is a conviction in payday lending. If however, the Group of 6, with
28
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 1   respect to whom the government has conceded (see, Doc. 267, the Petition to Revoke) the
 2   SOLs have run are going to be presented to the petit jury in the criminal trial, then
 3
     Motion #3, dealing with severance would have to increase the number of trials from
 4
 5   three, as outlined below, to five.

 6                                        BACKGROUND
 7           Mr. Harbor was charged with 26 counts in the first Superseding Indictment (Doc.
 8
     154); counts 1-10 being wire fraud, counts 11-12 mail fraud, counts 13-23 transactional
 9
     money laundering, count 24 tax evasion, count 25 false statements, and count 26 being
10
11   obstruction. The second superseding indictment (“SSI”) was filed on June 14, 2022 (Doc.
12   387) and contained the aforementioned counts, plus count 27 conspiracy, count 28 bank
13
     fraud, counts 29-30 wire fraud, counts 31-32 transactional money laundering, and counts
14
     33-34 aggravated identity theft.
15
16           Focusing on the SSI,1 these counts can be broken down into three alleged
17   “frauds”: first, the Payday Lending “fraud” (counts 1-23), second, the tax counts (counts
18
     24-26), and third, the Mortgage “fraud” (counts 27-34). For the following reasons, the
19
     court must sever the counts and conduct three separate trials, one trial for each of the
20
21   alleged acts/transactions. That being said, counsel understands the lengths this Court has
22   gone through to accommodate a 15-day trial and the obvious hesitation to move trial
23
     dates again. In light of this, undersigned counsel proposes that the trial dates remain as
24
     they stand, with the court simply holding one trial for each count during the three weeks
25
26
     1
27     If the Group of 6 is included, the fourth and fifth cases are: 4) The 2007 K.B. and
     spouse (P.C.) “fraud,” and the 2010 R.G. “fraud.”
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 1   allotted for trial.2 The government can, say, by the middle of October, decide which case
 2   it wants to try and in which order.
 3
                                          LEGAL STANDARD
 4
 5           Indictments may charge a defendant in separate counts with two or more offenses

 6   if the offenses charged are of the same or similar character, are based on the same act or
 7   transaction, or are connected with or constitute parts of a common scheme or plan. See
 8
     F.R.Crim.P. 8(a). The validity of joinder is based solely on the allegations in the
 9
     indictment. United States v. Jawara, 474 F.3d 565, 572 (9th Cir. 2007) (quoting United
10
11   States v. Terry, 911 F.2d 272, 276 (9th Cir. 1990)).
12           F.R.Crim.P. 14 states that a court may order the separate trials of counts if the
13
     joinder of offenses in an indictment for trial appears to prejudice a defendant or the
14
     government. Even if counts have been properly joined in the same indictment, if such
15
16   joinder would create undue prejudice to an accused during trial, the court may order a
17   prosecution election among counts or a severance of the counts for trial. United States v.
18
     Olson, 504 F.2d 1222, 1224 (9th Cir. 1974). It is at the trial judge’s discretion to order the
19
     severance of counts for trial. Id.
20
21
22
     2
       When you break down the “cases” and separate the government’s novel from the actual
23   facts, there are really not that many witnesses nor much government proof. Of course, if
24   the K.B./P.C. and R.G. cases are, without the presence of any actual charges, somehow
     allowed to proceed as criminal trials, then five trials in 15 seems far too ambitious. We
25   are making this point to highlight, of course, that once one separates out the Group of 6,
     there are no trials that could occur because there are no charges related to the Group of 6.
26   Nevertheless, if the evidence concerning the Group of 6 is includable in the payday loan
27   trial, the plan would break apart because, not only would we have to defend the actual
     charges but also defend the uncharged allegations related to the Group of 6.
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 1                                          ARGUMENT
 2          For joinder to be proper, there must be a greater “logical relationship” between
 3
     occurrences. United States v. Ford, 632 F.2d 1354, 1371 (9th Cir. 1980) rejected on other
 4
 5   grounds by United States v. De Bright, 730 F.2d 1255, 1256 (9th Cir. 1984). A logical

 6   relationship may be shown by the existence of a common plan, scheme, or conspiracy. Id.
 7   see also United States v. Guerrero, 756 F.2d 1342, 1345 (9th Cir. 1984) holding that
 8
     separate acts that constitute separate offenses are sufficiently related to justify joinder if
 9
     they arise out of a common plan, scheme, or conspiracy.
10
11          The situation in Mr. Harbour’s case is that there are three offenses charged under
12   one indictment and set to be tried as one case. Of course, the use of multicount
13
     indictments is common practice and wholly acceptable. See Howard v. United States, 372
14
     F.2d 294, 301 (9th Cir. 1967). An issue only arises when there is no logical relationship
15
16   between the occurrences.
17          In United States v. Renzi, the defendant had been charged with various counts of
18
     wire fraud, insurance fraud, racketeering, false statements in a federal tax return, and
19
     campaign contributions in the name of another. United States v. Renzi, No.
20
21   CR0800212TUCDCBBPV, 2009 WL 10675612, at *3 (D. Ariz. Dec. 11, 2009). The
22   Arizona District Court found that the insurance fraud and RICO counts should be severed
23
     from the wire fraud and tax counts and the campaign contribution counts should also be
24
     severed from the insurance fraud and wire fraud counts. Id. at 8.
25
26          The court based its decision on a lack of relationship between the time, place, and

27   manner of the counts. Id. at 7. As for the campaign contributions count, the court stated
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 1   that there was no nexus between that count and any of the other counts charged. Id.
 2   quoting Jawara, 474 F.3d 565 at 578 “[T]he similar character of joined offenses should
 3
     be ascertainable- either readily apparent or reasonably inferred-from the face of the
 4
 5   indictment. Courts should not have to engage in inferential gymnastics or resort to

 6   implausible levels of abstraction to divine similarity.” Under F.R.Crim.P. 8(a), there was
 7   no similar character as to the offenses charged in Counts 1-27 and the campaign
 8
     contributions count, or were they based on the same act or transaction or conceded with
 9
     parts of a common scheme or plan. Id.
10
11          Similarly, a motion to sever was granted by the Arizona District court where
12   felony possession charges did not relate to a murder and drug charge. United States v.
13
     Goldtooth, No. CR-19-08108-PCT-DGC, 2021 WL 1688237, at *4 (D. Ariz. Apr. 29,
14
     2021). The government had charged the defendant with six counts – four of which
15
16   pertained to the unlawful possession of firearms and ammunition, one count of possession
17   of methamphetamines, and one count murder. Id. at *1.
18
            In its finding, the court evaluated cases from the 2nd and 3rd Circuits. Id. at *2-3.
19
     The court held that all offenses charged must have a F.R.Crim.P. 8(a) connection; the rule
20
21   does not say that joinder is proper if “some of the offenses charged” have connections. Id.
22   at *3. F.R.Crim.P. 8(a) seeks to strike a balance between the efficiencies to be gained by
23
     trying a case together and the prejudice that a defendant would suffer by a jury hearing
24
     incriminating evidence on a variety of charges. Id. The court ultimately determined that
25
26   the murder count and the drug count needed to be tried separately since the counts did not

27   arise out of the same act or transaction. Id. at 4.
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 1          These cases are similar to that of Harbour, in that, while some of the counts do
 2   relate to the same alleged plans, schemes, or conspiracies, not every count in the
 3
     indictment relates to the others.
 4
 5          Obviously, the mortgage fraud/bank fraud charges must be severed from the

 6   payday lending and tax charges. We think this to be self-evident, really, and needing
 7   little, if any, discussion. We will be interested in seeing how, if it does, the government
 8
     even attempts to keep these charges in the same case as the payday lending and tax cases.
 9
            Slightly more difficult, but not all that challenging are the payday loan and tax
10
11   charges. This is more easily seen from the vantage point of the payday loan charges
12   looking forwards than from the tax charges looking backwards.
13
            The tax charges are not traditional tax evasion/tax fraud charges. Were they of the
14
     usually seen type of tax charges, the SOL on Count 24 (evasion) would have expired. The
15
16   year charged is calendar year 2012. Counts 24 was not charged until November 24, 2020,
17   well past the 6-year SOL. Thus, in order to fit within the SOL, the government charged a
18
     variety of tax evasion called “specific acts of evasion.” All of the acts associated with the
19
     alleged evasion occurred well-after the alleged payday loan fraud ended. Nor does the
20
21   government allege that the evasion had anything to do with payday lending.
22          The false statement count (Count 25) relates to a Form 433-A made on April 26,
23
     2017. The obstruction count (Count 26) relates to the period between March 2017 and
24
     June 2018. This was long after the so-called payday lending fraud ended (the last money
25
26   laundering count is September 2, 2015) and long before the mortgage fraud/bank fraud

27   claims commenced (July 2021).
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 1          The government’s strategy is as obvious as is the Court’s need to thwart it. he
 2   government has three bare-bones cases. It’s payday lending case rests on three wires
 3
     fraud victims, M.B., PAIF, and R.T. Of these, M.B.’s case will collapse, inter alia
 4
 5   because the Operating Agreement drafted by his own lawyers and the loan agreement of

 6   which he was acutely aware, gave Harbour the absolute right to borrow funds and the
 7   money Harbour borrowed was, when it was called for by Green Circle, forwarded to
 8
     Green Circle, as the government well-knows. The M.B. charges should go nowhere. R.T.
 9
     has signed a Declaration that, when read in association with the evidence that is referred
10
11   to in it, fully defeats that R.T. charges. So, does A.W.’s Declaration.
12          The PAIF allegation has been shredded by the documents which, though
13
     suppressed by PAIF notwithstanding the Court’s order to produce them, were,
14
     nonetheless, already in the huge databank maintained by a third party professional
15
16   organization since 2016. Those documents have been produced to the government and it
17   is noticeable that one of the names formerly on the first no-contact if released list is no
18
     longer on the latest version of that list. Obviously, the government has realized that the
19
     documents we supplied (the Emails with PAIF during July-August 2015) completely
20
21   undid that witnesses’ former proposed testimony.
22          As for the two “new” mail fraud victims (as of 2020), the government has naught
23
     except two late checks which, we have supposed, the government will claim are part of
24
     the payday loan fraud that the government concedes was barred by the expiration of the
25
26   SOL. We have discussed those counts in Motion #2.

27
28

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 1                                        CONCLUSION
 2          Defendant respectfully moves this Court to sever the charges in the indictment and
 3
     conduct three separate trials, one for each overarching offense pursuant to F.R.Crim.P.
 4
 5   8(a) and 14. There is no logical relationship between the three overarching offenses: one

 6   offense relates to a Payday lending business, the second offense relates to tax counts from
 7   2017-18, and the third offense is a mortgage fraud issue from after Mr. Harbour had
 8
     already been indicted on the other counts.
 9
            There is absolutely no causal nexus between any of these three distinct offenses
10
11   and therefore, they must be severed and be tried separately to avoid any confusion of the
12   issues or undue prejudice on Mr. Harbour. We are willing to try them back-to-back-to-
13
     back. We can pick three juries at the same time. The government can pick which case to
14
     try first (unless, of course, the Court makes the decision on its own).
15
16          RESPECTFULLY SUBMITTED this 9th day of September 2022.
17                                          CHRISTIAN DICHTER & SLUGA, P.C.
18
19                                          By: /s/ Stephen M. Dichter
                                                Stephen M. Dichter
20
                                                Justin R. Vanderveer
21                                              2800 North Central Avenue, Suite 860
                                                Phoenix, Arizona 85004
22                                              Attorneys for Defendant David A. Harbour
23
24
25                                CERTIFICATE OF SERVICE

26          I hereby certify that on September 9, 2022, I electronically transmitted the
     attached document to the Clerk’s Office using the CM/ECF system for filing and for
27   transmittal of Notice of Electronic Filing to the following CM/ECF registrants:
28

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